      Case:19-00109-LTS Doc#:7
                          Doc#:6 Filed:07/17/19
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     SRF 34277-069
                                        UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF PUERTO RICO
_____________________________________________                              X
In re:                                                                     :
                                                                           :
THE FINANCIAL OVERSIGHT AND                                                :     PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,                                          :     Title III
                                                                           :
                        as representative of                               :     Case No. 17-BK-3283 (LTS)
                                                                           :
THE COMMONWEALTH OF PUERTO RICO et al.,                                    :     (Jointly Administered)
                                                                           :
                   Debtors.1                                               :
_____________________________________________                              X
THE SPECIAL CLAIMS COMMITTEE OF THE                                        :
FINANCIAL OVERSIGHT AND MANAGEMENT                                         :
BOARD FOR PUERTO RICO, ACTING BY AND                                       :
THROUGH ITS MEMBERS,                                                       :     Adv. Proc. No. 19-00109
                                                                           :
                             as trustee of                                 :
                                                                           :
THE COMMONWEALTH OF PUERTO RICO,                                           :
                                                                           :
                               Plaintiff                                   :
v.                                                                         :
                                                                           :
KELLY SERVICES PUERTO RICO,                                                :
                                                                           :
                   Defendant.                                              :
_____________________________________________                              X




1
      The Debtors in these Title III cases, along with each Debtor’s respective Title III case number listed as a bankruptcy case number
      due to software limitations and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
      Commonwealth of Puerto Rico (Bankruptcy Case No. 17-BK- 3283 (LTS)) (Last Four Digits of Federal Tax ID: 3481), (ii)
      Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-
      3566 (LTS)) (Last Four Digits of Federal Tax ID: 9686), (iii) Puerto Rico Highways and Transportation Authority (“HTA”)
      (Bankruptcy Case No. 17-BK-3567 (LTS)) (Last Four Digits of Federal Tax ID: 3808), (iv) Puerto Rico Sales Tax Financing
      Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284 (LTS)) (Last Four Digits of Federal Tax ID: 8474); and (v) Puerto
      Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780) (Last Four Digits of Federal Tax ID: 3747).
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                     SUMMONS IN AN ADVERSARY PROCEEDING
To:    Kelly Services Puerto Rico
       c/o CT Corporation, Resident Agent
       361 Old Francisco Street, Penthouse
       San Juan, PR 00901

         YOU ARE SUMMONED and required to file a motion or answer to the complaint which is
attached to this summons with the clerk of the district court within 30 days after the date of issuance of
this summons, except that the United States and its officers and agencies shall file a motion or answer
to the complaint within 35 days. The answer or motion must be served on the plaintiff or plaintiff s
attorney, whose name and address are:

      BROWN RUDNICK LLP                                   ESTRELLA, LLC
      Edward S. Weisfelner, Esq.                          Alberto Estrella, Esq. USDC - PR 209804
      Seven Times Square                                  Kenneth C. Suria, Esq. USDC - PR 213302
      New York, NY 10036                                  P. O. Box 9023596
      Tel. (212) 209-4800                                 San Juan, Puerto Rico 00902–3596
      eweisfelner@brownrudnick.com                        Tel.: (787) 977-5050
                                                          aestrella@estrellallc.com
      Jeffrey L. Jonas, Esq.                              ksuria@estrellallc.com
      Sunni P. Beville, Esq.
      One Financial Center
      Boston, MA 02111
      Tel.: (617) 856-8200
      jjonas@brownrudnick.com
      sbeville@brownrudnick.com


        If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

         If you fail to respond to this summons, your failure will be deemed to be your consent to entry
of a judgment by the district court and judgment by default may be taken against you for the relief
demanded in the complaint.

                                                 FRANCES RIOS DE MORAN, ESQ.
                                                 CLERK OF COURT



        Date: 07/17/2019                         _________________________________
                                                  Signature of Clerk or Deputy Clerk
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                                     CERTIFICATE OF SERVICE

       I, Jesse Offenhartz                 (name), certify that service of this summons and a copy of the
complaint was made 7/23/2019                          (date) by:

             Mail service: Regular, first class United States mail, postage fully pre-paid, addressed to:
                 See Exhibit A

          □ Personal Service: By leaving the process with the defendant or with an officer or agent of
            defendant at:


          □ Residence Service: By leaving the process with the following adult at:


          □ Certified Mail Service on an Insured Depository Institution: By sending the process by
            certified mail addressed to the following officer of the defendant at:


          □ Publication: The defendant was served as follows: [Describe briefly]


          □ State Law: The defendant was served pursuant to the laws of the State of, as follows:
            [Describe briefly]


         If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

          Under penalty of perjury, I declare that the foregoing is true and correct.


          Date 7/25/2019                 Signature: /s/ Jesse Offenhartz

                                         Print Name: Jesse Offenhartz

                                         Business Address: Prime Clerk, LLC
                                                           One Grand Central Place
                                                           60 East 42nd Street, Suite 1440
                                                           New York, NY 10165




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                                     Exhibit A

                             Kelly Services Puerto Rico
                               Arturo V Bauermeister
                                     SBGB LLC
                    Corporate Center , Ste 202 33 Calle Resolución
                                 San Juan, PR 00920


                             Kelly Services Puerto Rico
                         c/o CT Corporation, Resident Agent
                         361 Old Francisco Street, Penthouse
                                 San Juan, PR 00901


                             Kelly Services Puerto Rico
                                   Sally E. Edison
                          Spilman Thomas & Battle, PLLC
                             301 Grant Street Suite 3440
                                Pittsburgh, PA 15219




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